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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No. CV 20-11311-AB (AGRx)
12    IN SUN KIL,
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL ACTION
14
      v.
15
      SKYVIEW SUNSET, LLC; and DOES
16    1 through 10,
17                    Defendants.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within 30 days, to re-
23   open the action if settlement is not consummated. This Court retains full jurisdiction
24   over this action and this Order shall not prejudice any party to this action.
25
26
     Dated: March 24, 2021            _______________________________________
27                                    ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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